 Case 7:23-cr-01581   Document 199    Filed on 03/19/24 in TXSDUnited States
                                                                   Page  1 ofCourts
                                                                               16
                                                              Southern District of Texas
                                                                       FILED         57
                                                         March 19, 2024
                      UNITED STATES DISTRICT COURT
                                                   Nathan Ochsner, Clerk of Court
                       SOUTHERN DISTRICT OF TEXAS
                            McALLEN DIVISION

UNITED STATES OF AMERICA         '
                                 '
v.                               '        Criminal No. M-23-1581-S2
                                 '
ALVARO NAVARRO-DIAZ              '
also known as “Pantera”          '
JORGE ALBERTO GALINDO-VARGAS '
SANDRA GUADALUPE ESTRELLA-       '
                         SALGADO '
CARLOS JOEL VAZQUEZ-SANCHEZ      '
also known as “Chaparro”         '
CINDY REYES                      '
SEBASTIAN MALDONADO              '
FRANCISCO FABIAN MALDONADO       '
                                 '
LUIS OMAR VARGAS-CARDOZA         §

                               §
MAURICIO ESTEBAN MENDEZ-       §
                     RODRIGUEZ §
also known as “Pely”           §
                               §
ROBERTO HERNANDEZ              §
  Case 7:23-cr-01581        Document 199        Filed on 03/19/24 in TXSD         Page 2 of 16

                    SEALED SECOND SUPERSEDING INDICTMENT

THE GRAND JURY CHARGES:

                                           Count One

       From on or about June 20, 2022 through on or about January 4, 2024, in the Southern

District of Texas and within the jurisdiction of the Court, defendants,

                               ALVARO NAVARRO-DIAZ
                                 also known as “Pantera”
                           JORGE ALBERTO GALINDO-VARGAS
                            CARLOS JOEL VAZQUEZ-SANCHEZ
                                also known as “Chaparro”

                             LUIS OMAR VARGAS-CARDOZA


                      MAURICIO ESTEBAN MENDEZ-RODRIGUEZ
                                also known as “Pely”




did knowingly and intentionally conspire and agree with other persons known and unknown to the

Grand Jurors, to possess with intent to distribute a controlled substance. The controlled substance

involved was 5 kilograms or more of a mixture or substance containing a detectable amount of

cocaine, a Schedule II controlled substance.

       In violation of Title 21, United States Code, Sections 846, 841(a)(1), 841(b)(1)(A).

                                           Count Two

       On or about November 1, 2023, in the Southern District of Texas and within the jurisdiction

of the Court, defendant,
  Case 7:23-cr-01581        Document 199        Filed on 03/19/24 in TXSD        Page 3 of 16

                                 ALVARO NAVARRO-DIAZ
                                  also known as “Pantera”

did knowingly and intentionally possess with intent to distribute a controlled substance. The

controlled substance involved was 5 kilograms or more, that is, approximately 43 kilograms of a

mixture or substance containing a detectable amount of cocaine, a Schedule II controlled

substance.

       In violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(A) and Title 18,

United States Code, Section 2.

                                          Count Three

       On or about November 1, 2023, in the Southern District of Texas and within the jurisdiction

of the Court, defendants,

                           JORGE ALBERTO GALINDO-VARGAS
                                        and
                             LUIS OMAR VARGAS-CARDOZA

did knowingly and intentionally possess with intent to distribute a controlled substance. The

controlled substance involved was 5 kilograms or more, that is, approximately 12 kilograms of a

mixture or substance containing a detectable amount of cocaine, a Schedule II controlled

substance.

       In violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(A).

                                          Count Four

       On or about November 1, 2023, in the Southern District of Texas and within the jurisdiction

of the Court, defendant,



did knowingly and intentionally possess with intent to distribute a controlled substance. The

controlled substance involved was 5 kilograms or more, that is, approximately 10 kilograms of a

mixture or substance containing a detectable amount of cocaine, a Schedule II controlled

substance.
  Case 7:23-cr-01581        Document 199         Filed on 03/19/24 in TXSD        Page 4 of 16

       In violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(A).

                                           Count Five

       On or about November 1, 2023, in the Southern District of Texas and within the jurisdiction

of the Court, defendant,

                      SANDRA GUADALUPE ESTRELLA-SALGADO

did knowingly and intentionally possess with intent to distribute a controlled substance. The

controlled substance involved was 500 grams or more, that is, approximately 800 grams of a

mixture or substance containing a detectable amount of cocaine, a Schedule II controlled

substance.

       In violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(B).

                                            Count Six

       On or about April 19, 2023 through on or about January 5, 2024, in the Southern District

of Texas and elsewhere within the jurisdiction of the Court, defendants,

                           CARLOS JOEL VAZQUEZ-SANCHEZ
                               also known as “Chaparro”
                                     CINDY REYES
                              SEBASTIAN MALDONADO
                           FRANCISCO FABIAN MALDONADO




did knowingly and intentionally conspire and agree with other persons known and unknown to the

Grand Jurors, to conspire to purchase any firearm in or otherwise affecting interstate or foreign

commerce for, on behalf of, or at the request or demand of any other person, knowing or having

reasonable cause to believe that such other person intends to use, carry, possess, sell or otherwise

dispose of the firearm in furtherance of a felony, namely violations of Title 18 United States Code

Section 554 and 922(g)(5)(A).
  Case 7:23-cr-01581         Document 199         Filed on 03/19/24 in TXSD         Page 5 of 16

       In violation of Title 18, United States Code, Sections 932(b)(2).

                                           Count Seven

       On or about June 30, 2023 through on or about November 1, 2023, in the Southern District

of Texas and within the jurisdiction of the Court, defendant,

                           CARLOS JOEL VAZQUEZ-SANCHEZ
                               also known as “Chaparro”

did knowingly and intentionally conspire and agree with other persons known and unknown to the

Grand Jurors, to conspire to receive from another person any firearm in or otherwise affecting

interstate or foreign commerce, knowing that the recipient knows or has reasonable cause to

believe that such receipt would constitute a felony.

       In violation of Title 18, United States Code, Sections 933(a)(3).

                                            Count Eight

       From on or about June 30, 2023 through on or about July 14, 2023, in the Southern District

of Texas and within the jurisdiction of the Court, defendants,

                                       CINDY REYES
                                           and
                                  SEBASTIAN MALDONADO

did fraudulently and knowingly receive, conceal, buy, sell, or in any manner facilitate the

transportation, concealment, or sale of any merchandise, article, or object, to wit: multiple firearms

including, a Beretta, Model 92, 9mm handgun; and a Beretta, Model 92X, 9mm handgun, prior to

exportation, knowing the same to be intended for exportation contrary to any law or regulation of

the United States, namely, without a license or written approval from the United States Department

of Commerce, as required by Title 50, United States Code, Sections 4819 and Title 15, Code of

Federal Regulations, Sections 730-774.

       In violation of Title 18, United States Code, Sections 554(a) and 2.
  Case 7:23-cr-01581         Document 199         Filed on 03/19/24 in TXSD         Page 6 of 16

                                            Count Nine

       From on or about September 14, 2023 through on or about September 24, 2023, in the

Southern District of Texas and within the jurisdiction of the Court, defendants,

                           CARLOS JOEL VAZQUEZ-SANCHEZ
                               also known as “Chaparro”
                                     CINDY REYES
                              SEBASTIAN MALDONADO
                           FRANCISCO FABIAN MALDONADO




did fraudulently and knowingly receive, conceal, buy, sell, or in any manner facilitate the

transportation, concealment, or sale of any merchandise, article, or object, to wit: multiple firearms

including, at least a Beretta, Model 92, 9mm handgun; and a Beretta, Model 92FS-22 Threaded,

22LR pistol, prior to exportation, knowing the same to be intended for exportation contrary to any

law or regulation of the United States, namely, without a license or written approval from the

United States Department of Commerce, as required by Title 50, United States Code, Sections 4819

and Title 15, Code of Federal Regulations, Sections 730-774.

       In violation of Title 18, United States Code, Sections 554(a) and 2.

                                             Count Ten

       On or about September 16, 2023, in the Southern District of Texas and within the

jurisdiction of the Court, Defendants,



                                          and
                                   ROBERTO HERNANDEZ
  Case 7:23-cr-01581         Document 199         Filed on 03/19/24 in TXSD         Page 7 of 16

in connection with the acquisition of a Beretta, Model 92FS, 9mm caliber pistol from Collectors

Firearms, Inc. in Houston, Texas, a federally licensed firearms dealer, knowingly made and aided

and abetted the making of a false and fictitious written statement to the licensed firearms dealer,

which statement was intended and likely to deceive the dealer, as to a fact material to the

lawfulness of the acquisition of the firearm under Chapter 44 of Title 18, in that ROBERTO

HERNANDEZ represented that ROBERTO HERNANDEZ was the actual transferee or buyer of

the firearm on the ATF Form 4473, when in truth and in fact he was not.

       In violation of Title 18, United States Code, Section 922(a)(6), 924(a)(2), and 2.

                                           Count Eleven

       From on or about September 30, 2023 through on or about November 1, 2023, in the

Southern District of Texas and within the jurisdiction of the Court, defendants,

                           CARLOS JOEL VAZQUEZ-SANCHEZ
                               also known as “Chaparro”
                              SEBASTIAN MALDONADO
                           FRANCISCO FABIAN MALDONADO




did fraudulently and knowingly receive, conceal, buy, sell, or in any manner facilitate the

transportation, concealment, or sale of any merchandise, article, or object, to wit: multiple firearms

including, a Romarm/Cugir, Model WASR-10UF 7.62x39mm caliber rifle, a Zastava, Model Z-

PAP M70, 7.62x39mm caliber rifle, a Norinco, Model MAK90, 7.62x39mm caliber rifle, and a

Remington Arms, Model 870, 12 gauge shotgun, prior to ex portation, knowing the same to be

intended for exportation contrary to any law or regulation of the United States, namely, without a

license or written approval from the United States Department of Commerce, as required by Title

50, United States Code, Sections 4819 and Title 15, Code of Federal Regulations, Sections 730-

774.
  Case 7:23-cr-01581        Document 199        Filed on 03/19/24 in TXSD        Page 8 of 16

       In violation of Title 18, United States Code, Sections 554(a) and 2.


                                         Count Twelve

       From on or about October 31, 2023 through on or about November 1, 2023, in the Southern

District of Texas and within the jurisdiction of the Court, defendant,

                           CARLOS JOEL VAZQUEZ-SANCHEZ

knowingly being an alien who was illegally and unlawfully in the United States, did knowingly

possess in and affecting interstate and foreign commerce a firearm, namely a Romarm/Cugir,

Model WASR-10UF 7.62x39mm caliber rifle, a Zastava, Model Z-PAP M70, 7.62x39mm caliber

rifle, a Norinco, Model MAK90, 7.62x39mm caliber rifle, and a Remington Arms, Model 870, 12

gauge shotgun.

       In violation of Title 18, United States Code, Sections 922(g)(5)(A), 924(a)(8) and 2.

                                         Count Thirteen

       On or about September 30, 2023, in the Southern District of Texas and within the

jurisdiction of the Court, defendant,



knowingly made a false statement and representation to Norman Armory, a federally licensed

firearm dealer operating in Pasadena, Texas, intended or likely to deceive said federal firearms

dealer with respect to any fact material to the lawfulness of the sale or disposition of a firearm,

namely a Zastava Arms, Model Z-PAP M70, 7.62x39mm caliber rifle, to be acquired from said

federal firearms dealer, in that the Defendant did execute a Bureau of Alcohol, Tobacco, Firearms,

and Explosives Form 4473, Firearms Transaction Record, representing on the Form 4473 that he

was the actual transferee/buyer of the firearm when in truth and fact he was not the actual

transferee/buyer of the firearm.

       In violation of Title 18, United States Code, Section 922(a)(6) and 924(a)(2).
  Case 7:23-cr-01581        Document 199        Filed on 03/19/24 in TXSD         Page 9 of 16

                                        Count Fourteen

       On or about September 30, 2023, in the Southern District of Texas and within the

jurisdiction of the Court, defendant,



knowingly made a false statement and representation to Norman Armory, a federally licensed

firearm dealer operating in Pasadena, Texas, intended or likely to deceive said federal firearms

dealer with respect to any fact material to the lawfulness of the sale or disposition of a firearm,

namely a Romarm/Cugir, Model WASR-10, 7.62x39mm caliber rifle, to be acquired from said

federal firearms dealer, in that the Defendant did execute a Bureau of Alcohol, Tobacco, Firearms,

and Explosives Form 4473, Firearms Transaction Record, representing on the Form 4473 that he

was the actual transferee/buyer of the firearm when in truth and fact he was not the actual

transferee/buyer of the firearm.

       In violation of Title 18, United States Code, Section 922(a)(6) and 924(a)(2).

                                          Count Fifteen

       On or about September 30, 2023, in the Southern District of Texas and within the

jurisdiction of the Court, defendant,



knowingly made a false statement and representation to Norman Armory, a federally licensed

firearm dealer operating in Pasadena, Texas, with respect to information required to be kept in the

records of said federally licensed firearms dealer, in that the Defendant did execute a Bureau of

Alcohol, Tobacco, Firearms, and Explosives Form 4473, Firearms Transaction Record, in

connection with the acquisition of a Romarm/Cugir, Model WASR-10, 7.62x39mm caliber rifle,

caliber pistol by representing on the Form 4473 that his residence and address was at specified

address in Baytown, Texas, when in truth and fact it was not h is actual residence or address.

       In violation of Title 18, United States Code, Section 924(a)(1)(A).
 Case 7:23-cr-01581         Document 199        Filed on 03/19/24 in TXSD        Page 10 of 16



                                          Count Sixteen

       On or about November 1, 2023, in the Southern District of Texas and within the jurisdiction

of the Court, defendant,

                           JORGE ALBERTO GALINDO-VARGAS

knowingly being an alien who was illegally and unlawfully in the United States, did knowingly

possess in and affecting interstate and foreign commerce a firearm, namely a Keltec, Model PMP

.22 caliber pistol; a Colt, Model Commander, .45 caliber pistol; two Colt, Model Commander,

9mm caliber pistols; a Colt, Model MKY series, .380 caliber pistol; a desert eagle 1911 pistol; a

Marlin, Model 60, .22 caliber rifle; a Mossberg, Model 88, 12 gauge shotgun; and a Harrington

and Richardson .410 shotgun.

       In violation of Title 18, United States Code, Sections 922(g)(5)(A), 924(a)(8) and 2.

                                        Count Seventeen

       On or about November 1, 2023, in the Southern District of Texas and within the jurisdiction

of the Court, defendant,

                           CARLOS JOEL VAZQUEZ-SANCHEZ

with the intent to evade a currency reporting requirement under Title 31, United States Code,

Section 5316, knowingly concealed more than $10,000.00 in United States currency, specifically

approximately $220,000.00 in United States dollars, on his person, in any conveyance, article of

luggage, merchandise, and other container, and transported and attempted to transport that

currency from a place within the United States, that is, from San Juan, Texas, to a place outside of

the United States, that is, the United Mexican States.

       In violation of Title 31, United States Code, Sections 5332(a) and 5332(b)(1) and Title 18,

United States Code, Section 2.
 Case 7:23-cr-01581         Document 199       Filed on 03/19/24 in TXSD         Page 11 of 16


                                         Count Eighteen

       On or about January 4, 2024, in the Southern District of Texas and within the jurisdiction

of the Court, defendant,

                      MAURICIO ESTEBAN MENDEZ-RODRIGUEZ
                                also known as “Pely”




with the intent to evade a currency reporting requirement under Title 31, United States Code,

Section 5316, knowingly concealed more than $10,000.00 in United States currency, specifically

approximately $101,098.00 in United States dollars, on his person, in any conveyance, article of

luggage, merchandise, and other container, and transported and attempted to transport that

currency from a place within the United States, that is, from Weslaco, Texas, to a place outside of

the United States, that is, the United Mexican States.

       In violation of Title 31, United States Code, Sections 5332(a) and 5332(b)(1) and Title 18,

United States Code, Section 2.

                                         Count Nineteen

       On or about February 6, 2024, in the Southern District of Texas and within the jurisdiction

of the Court, defendants,




with the intent to evade a currency reporting requirement under Title 31, United States Code,

Section 5316, knowingly concealed more than $10,000.00 in United States currency, specifically

approximately $220,016.00 in United States dollars, on his person, in any conveyance, article of

luggage, merchandise, and other container, and transported and attempted to transport that

currency from a place within the United States, that is, from Kleberg County, Texas, to a place

outside of the United States, that is, the United Mexican States.
  Case 7:23-cr-01581        Document 199        Filed on 03/19/24 in TXSD         Page 12 of 16

       In violation of Title 31, United States Code, Sections 5332(a) and 5332(b)(1) and Title 18,

United States Code, Section 2.

                                          Count Twenty

       On or about November 1, 2023, in the Southern District of Texas and within the jurisdiction

of the Court, defendant,

                           JORGE ALBERTO GALINDO-VARGAS

an alien who had previously been denied admission, excluded, deported and removed knowingly

and unlawfully entered, attempted to enter and was at any time found in the United States, to wit,

near Mission, Texas, said defendant not having obtained the consent to reapply for admission into

the United States from the Attorney General of the United States and Secretary of Homeland

Security, the successor, pursuant to Title 6, United States Code, Sections 202(3), 202(4), and 557.

       In violation of Title 8, United States Code, Sections 1326(a) and 1326(b).

                               NOTICE OF FORFEITURE
               18 U.S.C. § 924(d)(1); 21 U.S.C. § 853(a); 28 U.S.C. § 2461(c)

       Pursuant to Title 18, United States Code, Section 952 and Title 28, United States Code,

Section 2461(c), the United States gives notice to defendants charged in this Second Superseding

Indictment, that in the event of conviction for an offense charged in Coun ts 1 through 5 of this

Second Superseding Indictment, the United States intends to seek forfeiture of (1) all property

constituting, or derived from, any proceeds obtained, directly or indirectly, as a result of the

violation; and (2) all property used, or intended to be used, in any manner or part, to commit, or to

facilitate the commission of said violation.

       The United States further gives notice to defendants charged in this Second Superseding

Indictment pursuant to Title 18 United States Code, Section 9 24(d)(1) that in the event of

conviction for an offense charged in Counts 6 through 16 of this Second Superseding Indictment,

that any firearm or ammunition involved in or used in any knowing violation, including those

firearms referenced in such counts, of said offenses shall be subject to forfeiture.
  Case 7:23-cr-01581         Document 199         Filed on 03/19/24 in TXSD          Page 13 of 16


        The United States further gives notice to defendants charged in counts 17 through 19 of

this Second Superseding Indictment that pursuant to Title 31 United States Code, Section 5332(b)

that in the event of conviction for said offense, that any property, real or personal, involved in the

offense, and any property traceable to such property shall be subject to forfeiture, including but

not limited to the amount of United States Currency reflected in said count.

                                         Money Judgment

Defendants are notified that upon conviction, a monetary judgment may be imposed equal to the

total value of the property subject to forfeiture.

                                          Substitute Assets

Defendants are notified that in the event that property subject to forfeiture, as a result of any act or

omission of defendants,

        (A) cannot be located upon the exercise of due diligence;

        (B) has been transferred or sold to, or deposited with, a third party;

        (C) has been placed beyond the jurisdiction of the court;

        (D) has been substantially diminished in value; or

        (E) has been commingled with other property that cannot be divided without difficulty,

it is the intent of the United States to seek forfeiture of any other property of the defendant up to

the total value of such property pursuant to Title 21, United States Code, Section 853(p),

incorporated by reference in Title 28, United States Code, Section 2461(c).

                                                        A TRUE BILL


                                                        FOREPERSON

ALAMDAR S. HAMDANI
UNITED STATES ATTORNEY


ASSISTANT UNITED STATES ATTORNEY
                                                                                                             57
            Case 7:23-cr-01581          Document 199     Filed on 03/19/24 in TXSD        Page 14 of 16
U.S. Department of Justice                                                                             Criminal Docket
Washington, D.C.
3/12/2024/mm
                                                                     M-23-1923-M, M-23-1925-M, M-23-1926-M
       McALLEN               Division                  CR. No.   M-23-1581-S2
SEALED INDICTMENTFiled: November 14, 2023
SEALED SUPERSEDING INDICTMENT Filed: December 12, 2023
SEALED SECOND SUPERSEDING INDICTMENT                 Filed: March 19, 2024 Judge: __RANDY CRANE__
County: Hidalgo
Lions #: 2023R06941                       Attorneys:
UNITED STATES OF AMERICA                 ALAMDAR S. HAMDANI, UNITED STATES ATTORNEY

v.                                                     ROBERT LOPEZ, JR., ASST. U.S. ATTORNEY
ALVARO NAVARRO-DIAZ                                    Cts. 1&2              Alya Vasquez, Apt’d, 956-348-2715
also known as “Pantera”
Custody:11/1/2023
JORGE ALBERTO GALINDO-VARGAS                           Cts. 1,3,16&20      John Adam Pope, Ret’d, 956-488-1896
Custody:11/1/2023
SANDRA GUADALUPE ESTRELLA-                             Ct. 5                Rolando Garza, Apt’d, 956-318-1102
Custody:11/1/2023      SALGADO
CARLOS JOEL VAZQUEZ-SANCHEZ                            Cts. 1, 6,7,9,11,12,17 Samuel Reyes, Ret’d, 956-600-7868
also known as “Chaparro”
Custody:11/2/2023
CINDY REYES                                            Cts. 6, 8-9            Roel Esquivel, Apt’d, 956-289-1414
Custody:11/15/2023
SEBASTIAN MALDONADO                                    Cts. 6,8-9,11       Juan E. Gonzalez, Apt’d, 956-447-5585
Custody:11/14/2023
FRANCISCO FABIAN MALDONADO                             Cts. 6,9,11       Lilly Ann Gutierrez, Apt’d, 956-994-0987
PR Bond:11/17/2023




LUIS OMAR VARGAS-CARDOZA                               Cts. 1&3      Roberto Daniel Puente, Apt’d, 956-502-5258
Custody:1/18/2024




MAURICIO ESTEBAN MENDEZ-                               Cts. 1&18       Alejandro Ballesteros, Ret’d, 956-800-4418
                     RODRIGUEZ
also known as “Pely”
Custody:1/4/2024




ROBERTO HERNANDEZ                                      Ct. 10
Custody:1/4/2024
              Case 7:23-cr-01581         Document 199       Filed on 03/19/24 in TXSD       Page 15 of 16




Charge(s):   Ct. 1:        Conspiracy to possess with intent to distribute 5 kilograms or more of a mixture or
                           substance containing a detectable amount of cocaine.
                           Title 21, United States Code, Sections 846, 841(a)(1), and 841(b)(1)(A).
             Ct. 2-4:      Possession with intent to distribute 5 kilograms or more of a mixture or
                           substance containing a detectable amount of cocaine.
                           Title 21, United States Code, Sections 841(a)(1), and 841(b)(1)(A).
             Ct. 5:         Possession with intent to distribute 500 grams or more of a mixture or
                           substance containing a detectable amount of cocaine.
                           Title 21, United States Code, Sections 841(a)(1), and 841(b)(1)(B).
             Ct. 6:        Conspiracy to Commit Straw Purchasing of Firearms.
                           Title 18, United States Code, 932(b)(2).
             Ct. 7:         Conspiracy to Commit Firearms trafficking.
                            Title 18, United States Code, 933(a)(3).
             Ct. 8, 9, 11: Smuggling Goods From the United States.
                           Title 18, United States Code, 554(a) and 2.
             Ct. 10, 13-14: Material False Statements in Connection with the Acquisition of a Firearm
                            Title 18, United States Code, 922(a)(6).
             Ct. 12, 16: A prohibited person illegally or unlawfully possessing a firearm in and affecting
                           interstate and foreign commerce.
                           Title 18, United States Code, Sections 922(g)(5)(A), 924(a)(8), and 2.
             Ct. 15:       False Statements in Connection with the Acquisition of a Firearm
                            Title 18, United States Code, 924(a)(1)(A).
             Ct. 17-19:    Bulk Cash Smuggling.
                            Title 31, United States Code, 5332(a) and 5332(b)(1) and Title 18, United States Code, 2.
             Ct. 20:        Illegal Re-entry
                           Title 8, United States Code, Sections 1326(a) and 1326(b)

Total
Counts
 (20)

Penalty:              Cts. 1-4: Imprisonment for 10 yrs. to life and/or a fine not to exceed $10,000,000.00 and at
                             least 5 yr. SRT (as to each count)(MANDATORY MINIMUM)
                      Ct. 5: Imprisonment for 5 to 40 yrs. and/or a fine not to exceed $5,000,000.00 and at
                             least 4 yr. SRT (MANDATORY MINIMUM)
                      Cts. 6-7: Imprisonment for not more than 25 yrs. and/or a fine not to exceed $250,000 and not
                             more than a 4 yr. SRT(as to each count)
                      Cts. 8-11 & 13-14: Imprisonment for not more than 10 yrs. and/or a fine not to exce ed
                             $250,000.00 and not more than a 3 yr. SRT(as to each count)
                      Cts. 12&16: Imprisonment for not more than 15 yrs. and/or a fine not to exceed $250,000.00 and
                             not more than a 3 yr. SRT(as to each count)
          Case 7:23-cr-01581      Document 199        Filed on 03/19/24 in TXSD       Page 16 of 16

             Cts. 15, 17-19:Imprisonment for not more than 5 years and/or a fine not to exceed $250,000 and not
                      more than a 3 yr. SRT
             Ct. 20: Imprisonment for not more than 20 yrs. and/or a fine not to exceed $250,000 and not
                      more than a 3 yr. SRT

Agency:       Homeland Security Investigations – Nicholas Stott – MC02VR23MC0002
              Texas Department of Public Safety – James T. Wallen – 2023I-CID3-50115768
              Bureau of Alcohol, Tobacco Firearms & Explosives – Brenda Leal – 782115-23-0046
              Drug Enforcement Administration – Joshua Garza – M5-24-0008
                                                    Proceedings

Date
